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         EXHIBIT A
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________

SERVANTS OF JESUS AND MARY, INC.,
d/b/a THE FATIMA CENTER

                                            Plaintiff,

          v.
                                                              LOCAL RULE 81 INDEX
THE NATIONAL COMMITTEE FOR THE NATIONAL
PILGRIM VIRGIN OF CANADA, and,                                Civil Action No.

THE FATIMA CENTER U.S.A., INC., and,

ANDREW CESANEK

                                    Defendants.
_____________________________________________

       Pursuant to Local Rule of Civil Procedure 81, attached is the required Index of all

documents with dates filed, in Plaintiff’s actioned commenced in the Supreme Court of the State

of New York, County of St. Lawrence (Index No. CV-2018-0152396), thereafter transferred to

the Supreme Court of the State of New York, County of Niagara (Index No. E165222/2018):

       Exhibit A-1: Plaintiff’s Application for Index Number, dated March 29, 2018, filed

                      April 2, 2018.

       Exhibit A-2: Plaintiff’s Summons and Complaint, dated March 29, 2018, filed April 2,

                      2018.

       Exhibit A-3: Plaintiff’s Request for Judicial Intervention, dated April 16, 2018, filed

                      April 17, 2018.

       Exhibit A-4: Plaintiff’s Motion Fee Paid Letter, dated April 16, 2018, filed April 17,

                      2018.
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Exhibit A-5: Plaintiff’s Memorandum of Law in Support of Plaintiff’s Motion by Order

              to Show Cause, dated April 16, 2018, filed April 17, 2018.

Exhibit A-6: Judicial Assignment Notice, dated April 17, 2018, filed April 18, 2018.

Exhibit A-7: Order to Show Cause dated April 19, 2018, filed April 19, 2018.

Exhibit A-8: Correspondence from Plaintiff to St. Lawrence County Supreme Court

              Clerk, dated April 20, 2018, filed April 23, 2018.

Exhibit A-9: Affidavit of Service upon Vincent G. LoTempio of Kloss, Stenger &

              LoTempio, dated April 20, 2018, filed April 23, 2018.

Exhibit A-10: Defendant, THE FATIMA CENTER U.S.A., INC., Demand for Change

              of the Place of Trial, dated April 25, 2018, filed April 26, 2018.

Exhibit A-11: Defendants’ Motion Fee Paid Letter, dated May 2, 2018, filed May 3,

              2018.

Exhibit A-12: Defendant THE FATIMA CENTER U.S.A., INC.’s Notice of Motion

              dated May 2, 2018, filed May 4, 2018.

Exhibit A-13: Defendant’s Affirmation in Support of Defendant’s Demand to Change

              Place of Trial Based upon Improper Venue, dated May 2, 2018, filed May

              4, 2018.

Exhibit A-14: Plaintiff’s Motion Fee Paid Letter, dated May 7, 2018, filed May 8, 2018.

Exhibit A-15: Plaintiff’s Notice of Cross-Motion, dated May 7, 2018, filed May 8, 2018.

Exhibit A-16: Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion to

              Change Venue and in Support of Plaintiff’s Cross-Motion, dated May 7,

              2018, filed May 8, 2018.
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Exhibit A-17: Affidavit of Service upon Justin D. Kloss of Kloss, Stenger & LoTempio,

              dated May 7, 2018, filed May 8, 2018.

Exhibit A-18: Correspondence from Defendants to St. Lawrence County Supreme Court

              Clerk, dated May 9, 2018, filed May 10, 2018.

Exhibit A-19: Defendants’ Affirmation in Opposition to Plaintiff’s Cross-Motion to

              Retain Venue or in the Alternative Transfer to Franklin County, and in

              Further Support of Defendants’ Motion to Change Venue to Niagara

              County, dated May 9, 2018, filed May 10, 2018.

Exhibit A-20: Defendant, THE NATIONAL COMMITTEE FOR THE NATIONAL

              PILGRIM VIRGIN OF CANADA, Answer with Affirmative Defenses

              and Counterclaims, dated May 14, 2018, filed May 15, 2018.

Exhibit A-21: Correspondence from Defendants to St. Lawrence County Supreme Court

              Clerk, dated May 14, 2018, filed May 15, 2018.

Exhibit A-22: Copy of Hon. Mary M. Farley’s Order Transferring Venue to Niagara

              County, dated May 17, 2018, filed May 18, 2018.

Exhibit A-23: Correspondence from Defendants to St. Lawrence County Supreme Court

              Clerk, dated June 5, 2018, filed June 11, 2018.

Exhibit A-24: St. Lawrence County Minutes, dated June 11, 2018, filed June 11, 2018 by

              St. Lawrence County Clerk, received June 14, 2018 by Niagara County

              Clerk, filed June 25, 2018 by Niagara County Clerk.

Exhibit A-25: Hon. Mary M. Farley’s Order Transferring Venue to Niagara County,

              dated May 17, 2018, filed June 11, 2018 by St. Lawrence County Clerk,

              filed June 26, 2018 by Niagara County Clerk.
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Exhibit A-26: Amended St. Lawrence County Minutes, dated June 27, 2018, filed June

              29, 2018 by the Niagara County Clerk.

Exhibit A-27: Plaintiff’s Supplemental Summons and Amended Complaint, dated June

              5, 2018, filed June 29, 2018 by the Niagara Country Clerk.
